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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA


GARY SNOW, in his capacity as the Personal           )
Representative of the Estate of J.B., Deceased,      )
                                                     )
               Plaintiff(s)                          )
                                                     )
vs.                                                  ) No. CIV-10-486-JHP
                                                     )
HOC INDUSTRIES, INC.,                                )
                                                     )
               Defendant(s)                          )


                              ADMINISTRATIVE CLOSING ORDER

               The Court has been advised by counsel that this action has been settled, or is in the

process of being settled. Therefore, it is not necessary that the action remain upon the calendar of

the Court.

               IT IS ORDERED that the action as to all claims is dismissed without prejudice

pursuant to Fed.R.Civ.P. 41(a)(2) subject to the conditions set forth herein. The Court retains

complete jurisdiction to vacate this order and to reopen the action upon cause shown that settlement

has not been completed and further litigation is necessary. This Administrative Closing Order

shall mature into a final judgment pursuant to Fed.R.Civ.P. 54 and Fed.R.Civ.P. 58, if the

parties fail to submit final closing papers within thirty (30) days from the date of this order.

               Dated this 7th day of February, 2012.
